 Case 8:22-cv-00099-DOC-DFM Document 286 Filed 04/05/22 Page 1 of 5 Page ID #:4339



 1
 2
                               UNITED STATES DISTRICT COURT
 3
                             CENTRAL DISTRICT OF CALIFORNIA
 4
                                      SOUTHERN DIVISION
 5
 6     JOHN C. EASTMAN                            Case No. 8:22-cv-00099-DOC-DFM
 7                    Plaintiff,                  JOINT STATUS REPORT
 8     vs.
 9
       BENNIE G. THOMPSON, et al.,
10
                      Defendants.
11
12
13           Pursuant to the Court’s April 4, 2022 Order, the parties respectfully submit the
14
     following joint status report.
15
             Position of the Select Committee:
16
17            Plaintiff has produced the documents required by this Court’s March 28, 2022
18
     Order.
19
             Position of Plaintiff:
20
21           Plaintiff has made all productions required by this Court’s March 28 order and
22
     continues to make productions in accordance with the Court’s previous orders.
23
24
             Position of Chapman University:

25           As reported by Chapman University in the Joint Status Report dated January 26,
26
     2022 (Dkt. No. 47), on January 25, 2022, Chapman provided counsel for
27

28



                                      JOINT STATUS REPORT
Case 8:22-cv-00099-DOC-DFM Document 286 Filed 04/05/22 Page 2 of 5 Page ID #:4340




 1 Dr. Eastman with the emails that are responsive to the Select Committee’s subpoena. (Id.
 2 at 3:14-21.)
 3
 4

 5
 6
 7
 8
 9
10

11
12
13
14
15
16

17
18
19
20
21
22

23
24
25
26
27
28
                                            2
                                   JOINT STATUS REPORT
 Case 8:22-cv-00099-DOC-DFM Document 286 Filed 04/05/22 Page 3 of 5 Page ID #:4341


 1
 2                                        Respectfully submitted,
 3
                                          /s/ Douglas N. Letter
 4                                        DOUGLAS N. LETTER
 5                                          General Counsel
                                          TODD B. TATELMAN
 6                                          Principal Deputy General Counsel
 7                                        ERIC R. COLUMBUS
                                            Special Litigation Counsel
 8                                        STACIE M. FAHSEL
 9                                          Associate General Counsel
10                                        OFFICE OF GENERAL COUNSEL
11                                        U.S. HOUSE OF
                                          REPRESENTATIVES
12
                                          5140 O’Neill House Office Building
13                                        Washington, D.C. 20515
                                          (202) 225-9700
14
                                          Douglas.Letter@mail.house.gov
15
                                          -and-
16
17                                        SHER TREMONTE LLP
                                          Justin M. Sher
18
                                          Michael Tremonte
19                                        Noam Biale
                                          Maya Brodziak
20
                                          Kathryn E. Ghotbi
21                                        90 Broad Street, 23rd Floor
                                          New York, New York 10004
22
                                          (212) 202-2600
23                                        JSher@shertremonte.com
24
                                          MTremonte@shertremonte.com
                                          NBiale@shertremonte.com
25                                        MBrodziak@shertremonte.com
26
                                          KGhotbi@shertremonte.com

27                                        -and-
28
                                          ARNOLD & PORTER


                               JOINT STATUS REPORT
Case 8:22-cv-00099-DOC-DFM Document 286 Filed 04/05/22 Page 4 of 5 Page ID #:4342



 1                                       John A. Freedman
                                         Paul Fishman
 2                                       Amy Jeffress
 3                                       601 Massachusetts Ave, NW
                                         Washington, D.C. 20001
 4                                       (202) 942-5000
 5                                       John.Freedman@arnoldporter.com
                                         Paul.Fishman@arnoldporter.com
 6                                       Amy.Jeffress@arnoldporter.com
 7
                                         Counsel for Congressional Defendants
 8

 9                                       /s/ Charles Burnham
                                         Anthony T. Caso
10                                       Constitutional Counsel Group
11                                       174 W Lincoln Ave #620
                                         Anaheim, CA 92805-2901
12                                       atcaso@ccg1776.com
13
                                         Charles Burnham
14
                                         Burnham & Gorokhov PLLC
15                                       1424 K Street NW, Suite 500
                                         Washington, DC 20005
16
                                         charles@burnhamgorokhov.com
17
                                         Counsel for Plaintiff
18
19                                       /s/ Fred M. Plevin
                                         Fred M. Plevin
20
                                         Paul, Plevin, Sullivan &
21                                       Connaughton LLP
                                         101 West Broadway, Ninth Floor
22
                                         San Diego, CA 92101
23                                       fplevin@paulplevin.com
24
                                         Counsel for Defendant Chapman
25                                       University
26

27
28
     Dated: April 5, 2022

                              JOINT STATUS REPORT
Case 8:22-cv-00099-DOC-DFM Document 286 Filed 04/05/22 Page 5 of 5 Page ID #:4343



 1                             CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:

 5        OFFICE OF GENERAL COUNSEL
          U.S. HOUSE OF REPRESENTATIVES
 6        5140 O’Neill House Office Building
 7
          Washington, D.C. 20515

 8          On April 5, 2022, I served the JOINT STATUS REPORT on the interested
     parties in this action:
 9
10        Anthony T. Caso
          Constitutional Counsel Group
11        174 W Lincoln Ave #620
12        Anaheim, CA 92805-2901
          atcaso@ccg1776.com
13
14        Charles Burnham
          Burnham & Gorokhov PLLC
15        1424 K Street NW, Suite 500
16        Washington, DC 20005
          charles@burnhamgorokhov.com
17
18        Attorneys for Plaintiff John C. Eastman
19
         (BY E-MAIL OR ELECTRONIC TRANSMISSION)
20         The document was served on the following via The United States District Court –
21
           Central District’s CM/ECF electronic transfer system which generates a Notice
           of Electronic Filing upon the parties, the assigned judge, and any registered user
22         in the case:
23
         (FEDERAL) I declare under penalty of perjury that the foregoing is true and
24                 correct, and that I am employed at the office of a member of
                   the bar of this Court at whose direction the service was made.
25
26        Executed on April 5, 2022 here, at Bethesda, Maryland.
27
                                                    /s/ Douglas N. Letter
28

                                   CERTIFICATE OF SERVICE
